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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


IN RE: FEMA                                                 MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                                SECTION “N-5"

                                                            JUDGE ENGELHARDT

                                                            MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:
Kennyetta S. Walker, et al v Scotbilt Homes, Inc.,
et al., Case No. 2:10-cv-270

______________________________________________________________________________

                            RULE 7.6 CERTIFICATE
______________________________________________________________________________

       Pursuant to Local Rule 7.6, undersigned counsel for Plaintiff certifies that Lamont

Domingue, counsel for Defendant Scotbilt Homes, Inc., David Kurtz, liaison counsel for the

Contractor Defendants, and Jonathan Waldron, with the United States Department of Justice, all

have been contacted and state that they are not opposed to Plaintiffs’ Motion for Extension of

Time to Serve the Defendants.

       Respectfully submitted, this the 7 day of April, 2010.



                                                     By:           s / Rose M. Hurder
                                                                   Rose M. Hurder

OF COUNSEL:

John Hawkins, Esq., MS Bar No. 9556
Edward Gibson, Esq., MS Bar No. 100640
Rose M. Hurder, Esq., MS Bar No. 103040
HAWKINS, STRACENER & GIBSON, PLLC.
153 Main Street
Bay St. Louis, MS 39520
Ph. (228) 469-0785; Fx. (228) 467-4212
rose@hsglawfirm.net
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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 7, 2010 I electronically filed the foregoing with the Clerk of

Court by using the CM/ECF system which will send a notice of electronic filing to all counsel of

record who are CM/ECF participants. I further certify that I mailed the foregoing document and

the notice of electronic filing by first class mail to all counsel of record who are non-CM/ECF

participants.



                                                                     s / Rose M. Hurder
                                                                     ROSE M. HURDER




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